        CASE 0:20-cv-01916-NEB-DTS Doc. 81 Filed 02/01/21 Page 1 of 13




                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA


 ADELINA P. MONTY, DDS,                            Case No. 20‐CV‐1916 (NEB/DTS)

                      Plaintiff,

 v.                                                 ORDER REMANDING CASE

 PATTERSON DENTAL SUPPLY, INC.,
 PATTERSON    COMPANIES,     INC.,
 DENTSPLY SIRONA, INC., and SCOTT
 H. COLEMAN, DDS,

                      Defendants.



       Adelina Monty, a Texas resident, filed this action in Texas state court against

Defendants for damages caused by defective dental equipment. (ECF No. 1‐2.)

Defendants are: Scott Coleman, DDS, also a Texas resident; Dentsply Sirona, Inc.

(“Dentsply”); and Patterson Dental Supply, Inc. and Patterson Companies, Inc. (together,

“Patterson Defendants”). The Patterson Defendants removed the action to federal court

based on diversity jurisdiction, and the Texas court transferred it here, where this Court

ordered briefing on the issue of the Court’s subject‐matter jurisdiction. (ECF No. 71, 73.)

The Patterson Defendants’ sole argument for jurisdiction is that Texas defendant Scott

Coleman was improperly joined. The Court rejects the argument and finds that it lacks

subject‐matter jurisdiction over this action.
        CASE 0:20-cv-01916-NEB-DTS Doc. 81 Filed 02/01/21 Page 2 of 13




                                   BACKGROUND

       I.     Monty’s Original Complaint Allegations

       Monty, a dentist and resident of Texas, entered into a Sales Agreement with the

Patterson Defendants and purchased various “CEREC” dental products manufactured

by Dentsply. (ECF No. 1‐2 (“Pet.”) ¶¶ 3, 12, 14.) She also entered into a “CEREC Club

Agreement” for technical support and maintenance provided by the Patterson

Defendants. (Id. ¶ 15.) Monty’s CEREC products had serious problems and defects, and

despite Monty’s repeated complaints, the Patterson Defendants were not able to correct

the issues (Id. ¶¶ 17–21, 26–27.) The Patterson Defendants’ alleged agent, Scott H.

Coleman, DDS, conducted a training meeting for Monty’s team in October 2017, but

Monty continued to have problems with the CEREC products. (Id. ¶¶ 21–23.) Monty

alleges that she incurred economic damages as a result of the defective CEREC products.

(Id. ¶¶ 24–25, 27.)

       II.    Relevant Procedural History

       On March 3, 2020, Monty filed this action against the Defendants in the 125th

Judicial District Court, Harris County, Texas, alleging violations of the Texas Deceptive

Trade Practices Act (“Texas DTPA”), breach of contract, fraud, and breach of implied

warranty of merchantability. (Pet. ¶¶ 28–57; ECF No. 1 at 1.) The Patterson Defendants

are Minnesota corporations. (Pet. ¶¶ 4–5.) Dentsply is incorporated under the laws of




                                            2
        CASE 0:20-cv-01916-NEB-DTS Doc. 81 Filed 02/01/21 Page 3 of 13




Delaware and has its principal place of business in North Carolina.1 (ECF No. 1 ¶ 7; ECF

No. 79 ¶ 4.) Coleman resides in Texas. (Pet. ¶ 7.)

       After service on all defendants, the Patterson Defendants removed the case to the

United States District Court for the Southern District of Texas on the basis of diversity

jurisdiction, alleging that Coleman was improperly joined. (ECF Nos. 1, 1‐3.) The

Patterson Defendants then quickly moved for transfer of venue to the District of

Minnesota based on the venue selection clause in the Sales Agreement. (ECF Nos. 6, 6‐1.)

Monty filed her First Amended Complaint in June. (ECF No. 20 (“FAC”).) In September,

the Southern District of Texas granted to the motion to transfer venue without addressing

the issue of subject‐matter jurisdiction. (ECF No. 38.)

       Once the case was in Minnesota, Dentsply filed a motion to dismiss. (ECF No. 47.)

A few days later, Monty filed a motion to amend the complaint, which is currently

pending before Magistrate Judge David T. Schultz. (ECF Nos. 55, 56.) The Court ordered

the parties to brief the issue of subject‐matter jurisdiction and heard oral argument on

that issue together with Dentsply’s motion to dismiss. (ECF Nos. 73, 80.)




1 While Monty alleges that Dentsply is a New York corporation, Dentsply denies this
allegation. (Compare Pet. ¶ 12, with ECF No. 8 ¶ 6.) Either way, it does not affect the
Court’s analysis.


                                             3
        CASE 0:20-cv-01916-NEB-DTS Doc. 81 Filed 02/01/21 Page 4 of 13




                                        ANALYSIS

       I.     Subject‐Matter Jurisdiction

       The Court first considers whether it has subject‐matter jurisdiction over this case.

See Missouri ex rel. Mo. Highway & Transp. Commʹn v. Cuffley, 112 F.3d 1332, 1334 (8th

Cir. 1997) (holding that a court has a duty to raise the issue of subject‐matter jurisdiction

sua sponte even where the parties do not dispute it). The burden of proving subject‐matter

jurisdiction remains on the party seeking to establish it. Great Rivers Habitat All. v. Fed.

Emergency Mgmt. Agency, 615 F.3d 985, 988 (8th Cir. 2010). Here, the Patterson Defendants

removed this case from Texas state court, and thus bear the burden of proof.

       Removal of a case to federal court is appropriate only if the action originally could

have been filed there. 28 U.S.C. § 1441(a); Junk v. Terminix Intʹl Co., 628 F.3d 439, 444 (8th

Cir. 2010) (citations omitted). Where, as here, removal is based on diversity jurisdiction,

the Court has subject‐matter jurisdiction only if the parties were completely diverse when

the case was filed in state court and removed to federal court.2 Chavez‐Lavagnino v.

Motivation Educ. Training, Inc., 714 F.3d 1055, 1056 (8th Cir. 2013). Thus, the Court




2 The Court notes that a civil action removable solely based on diversity “may not be
removed if any of the parties in interest properly joined and served as defendants is a
citizen of the State in which the action is brought.” 28 U.S.C. § 1441(b)(2). Because Monty
did not object to removal based on this “forum‐defendant rule,” the objection is waived.
See Holbein v. TAW Enters., Inc., 983 F.3d 1049, 1053 (8th Cir. 2020) (holding “violation of
the forum‐defendant rule is a nonjurisdictional defect in removal that is waived if not
raised in ‘[a] motion to remand . . . made within 30 days after the filing of the notice of
removal.’”) (citing 28 U.S.C. § 1447(c)).


                                              4
        CASE 0:20-cv-01916-NEB-DTS Doc. 81 Filed 02/01/21 Page 5 of 13




considers factual allegations in Monty’s original complaint, and must resolve “all doubts

in favor of remand to state court.” Mensah v. Owners Ins. Co., 951 F.3d 941, 943 (8th

Cir. 2020).

       The Patterson Defendants assert that the Court has subject‐matter jurisdiction over

this case based on diversity jurisdiction, which vests district courts with original

jurisdiction over civil cases where the amount in controversy exceeds $75,000 and the

case is between citizens of different states. 28 U.S.C. § 1332(a)(1). Diversity jurisdiction

requires “complete diversity,” which means that no defendant holds citizenship in the

same state where any plaintiff holds citizenship. Junk, 628 F.3d at 445. The Patterson

Defendants removed this action asserting that Monty pleads more than $75,000 in

damages, and that complete diversity exists because Coleman is improperly joined, and

the remaining defendants would be completely diverse. (ECF No. 1 ¶¶ 18–20.) Monty

maintains that complete diversity does not exist here because both she and Coleman are

residents of Texas, and Coleman is properly joined. (ECF No. 75 at 4; Pet. ¶¶ 3, 7.)

       Thus, the parties agree that subject‐matter jurisdiction turns on whether Coleman

was improperly—or fraudulently—joined.3 To prove that a plaintiff improperly joined a


3 The Court uses the term “improper joinder” to replace the term “fraudulent joinder,”
because it better reflects the nature of the procedure in the absence of allegations of
deceptive behavior. See Smallwood v. Ill. Cent. R.R. Co., 385 F.3d 568, 571 n.1 (5th Cir. 2004)
(en banc) (adopting the term “’improper joinder’ as being more consistent with the
statutory language than the term ‘fraudulent joinder’,” noting “there is no substantive
difference between the two terms”); Schur v. L.A. Weight Loss Centers, Inc., 577 F.3d 752,



                                              5
        CASE 0:20-cv-01916-NEB-DTS Doc. 81 Filed 02/01/21 Page 6 of 13




diversity‐destroying defendant, a defendant seeking removal must prove that “the

plaintiffʹs claim against the diversity‐destroying defendant has ‘no reasonable basis in

fact and law.’” Knudson v. Sys. Painters, Inc., 634 F.3d 968, 980 (8th Cir. 2011) (quoting Filla

v. Norfolk S. Ry. Co., 336 F.3d 806, 810 (8th Cir. 2003)). Joinder is not improper where there

is “‘arguably a reasonable basis for predicting that the state law might impose liability

based upon the facts involved.’” Id. (citing Filla, 336 F.3d at 811). Because courts “do not

focus on the artfulness of the plaintiffʹs pleadings,” the Patterson Defendants must “do

more than merely prove that the plaintiffʹs claim should be dismissed pursuant to a

Rule 12(b)(6) motion” to establish improper joinder. Block v. Toyota Motor Corp., 665

F.3d 944, 948 (8th Cir. 2011) (citation and quotation marks omitted). The question before

the Court is whether Monty’s claims against Coleman under common law fraud and the

Texas DTPA are arguably reasonable under this standard.

       A. Fraud Claim

       The Patterson Defendants maintain that the fraud claim against Coleman does not

assert any facts supporting a contention that Coleman (1) made a representation that he

knew or should have known was false, or (2) intended to defraud Monty. (ECF No. 76




763 n.9 (7th Cir. 2009) (noting that “the term ‘fraudulent joinder’ is a bit of a misnomer—
the doctrine requires neither fraud nor joinder”); Beattie v. Wells Fargo Bank, N.A.,
No. 4:09‐CV‐00037‐JEG, 2009 WL 10703097, at *3 n.4 (S.D. Iowa July 2, 2009) (adopting
the term “improper joinder”) (citing Smallwood, 385 F.3d at 571 n.1).


                                               6
        CASE 0:20-cv-01916-NEB-DTS Doc. 81 Filed 02/01/21 Page 7 of 13




at 8–9.) Under Texas law,4 a fraud claim requires: (1) a material representation of fact;

(2) the representation was false; (3) when the defendant made the representation, he

either knew it was false or made it recklessly without any knowledge of its truth and as

a positive assertion; (4) he made it with the intention that it should be acted upon by the

party; (5) the plaintiff acted in reliance upon it; and (6) the plaintiff thereby suffered

injury. Chambers, 709 S.W.2d at 224. Where a complaint alleges fraud, the plaintiff “must

state with particularity the circumstances constituting fraud or mistake” but “[m]alice,

intent, knowledge, and other conditions of a personʹs mind may be alleged generally.”

Fed. R. Civ. P. 9(b). While knowledge and intent may be alleged generally, “‘generally’ is

a relative term. Rule 9(b) does not give a pleader license to evade the less rigid—though

still operative—strictures of Rule 8.” OmegaGenesis Corp. v. Mayo Found. for Med. Educ. &

Rsch., 851 F.3d 800, 804 (8th Cir. 2017) (cleaned up).




4 The Court applies Texas law to the fraud claim against Coleman, as the Patterson
Defendants relied on Texas law as the basis for removing this action from Texas state
court. (See ECF No. 1 ¶¶ 15–16 (citing Texas state law on fraud, including Chambers v.
Huggins, 709 S.W.2d 219, 224 (Tex. Ct. App. 1986).) Monty likewise relies on Texas law in
addressing the fraud claim. (See ECF No. 75 at 6–9 (citing Notice of Removal ¶¶ 15–19
and Texas state and federal law).) While the Patterson Defendants now assert that
Minnesota substantive law applies because the Sales Agreement contains Minnesota
choice‐of‐law provisions, it is undisputed that Coleman was not a party to that
agreement. (ECF No. 76 at 3 n.1.) Moreover, the Patterson Defendants acknowledge that
no substantive differences exist between the applicable Texas and Minnesota law. (Id.; see
id. at 7–10 (citing Texas state law and Minnesota state and federal law to fraud claim
against Coleman).)


                                             7
        CASE 0:20-cv-01916-NEB-DTS Doc. 81 Filed 02/01/21 Page 8 of 13




       The original complaint alleges that “Coleman, individually and as an agent of the

Patterson Defendants, made material and false representations relating to the benefits of

the CEREC training and the benefits and uses of the Celtra Duo material,” made such

representations recklessly without knowledge of their truth, “knew or should have

known, the statements were false” when made, and made the representations with the

intent that Monty rely and act on them. (Pet. ¶¶ 48–50.) More specifically, in response to

Monty’s complaints to the Patterson Defendants about serious problems and defects with

the CEREC products, the Patterson Defendants suggested that training would alleviate

her problems with the CEREC products. (Id. ¶¶ 17–18, 21.) In October 2017, Monty sent

her team to train with Coleman—an alleged agent of the Patterson Defendants—at which

point he instructed Monty’s team to use “Celtra Duo” to create molar crowns instead of

a CEREC Zirconia blocks that had been breaking down during the milling process. (Id.

¶¶ 22–23.) Coleman allegedly explained that “although Celtra Duo had only 10%

Zirconia, it was stronger than e.max and just as strong as full Zirconia crowns.” (Id. ¶ 23;

see id. ¶ 17(d) (alleging Celtra Duo is “Zirconia‐reinforced Lithium Silicate” and e.max is

“cosmetic glass ceramic used for front teeth”).) Monty allegedly acted and relied on

Coleman’s directive to use Celtra Duo, and his statements caused her to suffer damages,

including replacing patients’ broken crowns that had been made with Celtra Duo. (Id.

¶¶ 23–24, 51–52.)




                                             8
        CASE 0:20-cv-01916-NEB-DTS Doc. 81 Filed 02/01/21 Page 9 of 13




       Monty maintains that the “obvious implication” of these alleged facts show that

she has an arguable basis for her claim against Coleman. (ECF No. 75 at 7 (quoting CSM

Corp. v. HRI Lodging, LLC, No. 18‐CV‐2278 (SRN/HB), 2019 WL 1118520, at *3 (D. Minn.

Mar. 11, 2019)).) Her original complaint alleges details regarding the content of the

alleged misrepresentations, who made them, and when and how they were made. See

Summerhill v. Terminix, Inc., 637 F.3d 877, 880 (8th Cir. 2011) (“Rule 9(b) requires plaintiffs

to plead ‘the who, what, when, where, and how’” of the fraud) (quotation omitted). The

fact that Monty could have worded her complaint better is of no moment, as the improper

joinder standard “turns on whether [Monty] might have a ‘colorable’ claim against

[Coleman], not on the artfulness of [her] pleadings.”5 CSM Corp., 2019 WL 1118520, at *3

(quoting Junk, 628 F.3d at 446).

       The Patterson Defendants also contend that the economic‐loss doctrine bars

Monty’s fraud claim against Coleman. The economic‐loss doctrine is “‘[t]he principle that

a plaintiff cannot sue in tort to recover for purely monetary loss—as opposed to physical

injury or property damage—caused by the defendant.’” Ptacek v. Earthsoils, Inc., 844

N.W.2d 535, 538 (Minn. Ct. App. 2014) (quoting Blackʹs Law Dictionary 590 (9th ed. 2009)).

This doctrine generally requires parties to contracts to sue under contract principles if

they have sustained purely monetary loss. Id.; see Heil Co. v. Polar Corp., 191 S.W.3d 805,


5 To be clear, the Court expresses no opinion as to whether the fraud claim against
Coleman would survive a motion to dismiss or motion for summary judgment. The claim
is before the Court on neither of these standards.


                                              9
       CASE 0:20-cv-01916-NEB-DTS Doc. 81 Filed 02/01/21 Page 10 of 13




815 (Tex. Ct. App. 2006) (“[M]ere nonfeasance under a contract creates liability only for

breach of contract.”). “Thus, tort damages are generally not recoverable unless the

plaintiff suffers an injury that is independent and separate from the economic losses

recoverable under a breach of contract claim.” Heil Co., 191 S.W.3d at 815 (citations

omitted).

      The Patterson Defendants argue that Monty’s complaint does not distinguish

between damages caused by the Patterson Defendants’ alleged breach of contract and

those that were caused by Coleman’s alleged fraud, and thus only seeks economic

damages. (See Pet. ¶¶ 44, 52 (alleging the breach of contract and Coleman’s statements

caused Monty “to suffer actual and consequential damages”)). But it is undisputed that

Coleman was not a party to the contract at issue, and Monty does not assert a breach of

contract action against Coleman. See Medistar Twelve Oaks Partners, Ltd. v. Am. Econ. Ins.

Co., No. CIV.A. H‐09‐3828, 2010 WL 1996596, at *12 n.10 (S.D. Tex. May 17, 2010)

(concluding that economic loss rule did not apply to fraud claim against defendant who

was not a party to the contract at issue). Resolving all doubts in favor of remand, the

Court cannot find that no reasonable basis in fact and law exists to support Monty’s fraud

claim against Coleman.6 As such, the Court finds that Coleman was not improperly




6Having found that Monty has an arguably reasonable basis for her fraud claim against
Coleman, the Court need not address the parties’ arguments based on the Texas DTPA
claim against Coleman, the Patterson Defendants’ alleged failure to allege citizenship, or
Coleman’s alleged failure to consent to removal.


                                           10
       CASE 0:20-cv-01916-NEB-DTS Doc. 81 Filed 02/01/21 Page 11 of 13




joined. Because Coleman’s presence destroys complete diversity, the Court lacks subject‐

matter jurisdiction over this case.

       B.     Remand

       The Court does not have subject‐matter jurisdiction over this case, and therefore

must remand the case to state court. 28 U.S.C. § 1447(c) (“If at any time before final

judgment it appears that the district court lacks subject matter jurisdiction, the case shall

be remanded.”). Monty asks that the Court remand the case to the Texas state court in

which she filed her original complaint. (ECF No. 75 at 11.) The Patterson Defendants ask

that the Court remand the case to Minnesota state court based on the choice of venue

provision of Sales Agreement. (ECF No. 76 at 14 (citing no legal authority).) “Federal

district judges do not have the authority to ‘transfer’ cases by remanding them to different

courts within the same state, let alone to courts of another state, regardless of jurisdiction,

venue, and efficiency considerations that might favor that action.” 14C Charles Alan

Wright & Arthur R. Miller, Fed. Prac. & Proc. § 3739 & n.14 (Rev. 4th ed. 2020) (collecting

cases); see Allied Signal Recovery Tr. v. Allied Signal, Inc., 298 F.3d 263, 270 (3d Cir. 2002)

(“‘Remand’ means ‘send back.’ It does not mean ‘send elsewhere.’”) (citation omitted);

Retterath v. Homeland Energy Sols., No. 4:14‐CV‐00158‐JEG, 2014 WL 7776705, at *10 (S.D.

Iowa Dec. 24, 2014) (explaining that a district court “does not have authority to ‘remand’

a case to a stranger court”) (quoting Allied, 298 F.3d at 270). At least one other district

court in the Eighth Circuit has declined a defendant’s request to remand a case to a venue



                                              11
       CASE 0:20-cv-01916-NEB-DTS Doc. 81 Filed 02/01/21 Page 12 of 13




other than the originating state court. See Bailey v. Geico Cas. Co., No. 16‐00743‐CV‐W‐

SWH, 2016 WL 9414122, at *2 (W.D. Mo. Dec. 2, 2016) (rejecting defendant’s request to

remand to a different Missouri circuit court). For these reasons, the Court denies the

Patterson Defendants’ request to remand this case to the Minnesota state court, and

remands the case to the District Court for the 125th District of Harris County, Texas.

       II.    Dentsply’s Motion to Dismiss

       Dentsply moves to dismiss the claims against it in the First Amended Complaint

(ECF No. 47.) Because the Court is remanding the case for lack of subject‐matter

jurisdiction, it cannot address the merits of the motion and denies it as moot. See Vincent

v. Dakota, Minn. & E. R.R. Corp., 200 F.3d 580, 582 (8th Cir. 2000) (explaining that “because

the district court remanded for a lack of subject matter jurisdiction, it lacked jurisdiction

to make any substantive rulings, and thus, no rulings of the federal court have any

preclusive effect on the substantive matters before the state court.”) (quotation omitted).

                                     CONCLUSION

       Based on the foregoing and on all the files, records, and proceedings herein, the

Court concludes that it does not have subject‐matter jurisdiction over this case. Therefore,

IT IS HEREBY ORDERED THAT:

       1.     The case is REMANDED to the District Court for the 125th District of Harris

              County, Texas; and




                                             12
       CASE 0:20-cv-01916-NEB-DTS Doc. 81 Filed 02/01/21 Page 13 of 13




      2.     Defendant Dentsply Sirona, Inc.’s Motion to Dismiss (ECF No. 47) is

             DENIED AS MOOT.




Dated: February 1, 2021                     BY THE COURT:

                                            s/Nancy E. Brasel
                                            Nancy E. Brasel
                                            United States District Judge




                                       13
